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      Donna Mae Amina,Pro Se
      Melvin Keakaku Amina                                    FILED IN THE
                                                                                 ORIGINAL
      2304 Metcalf Street 2                            UNITED STATES DISTRICT COURT
      Honolulu, HI 96822                                    DISTRICT OF HAWAII
      (808)949-5215
                                                             OCT 1 9 2018
                                                      at /^o'clock and-^
                                                           SUE BEITIA, CLERK




                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAII


      MELVIN KEAKAKU AMINA AND DONNA                   Case No. CV 18-00143 DWK-KSC
      MAE AMINA,HUSBAND AND WIFE,                     (Breach of Contract)

                  Plaintiffs,

                   vs.



      WMC MORTGAGE CORP.; et al.,                        JUDGE: Hon. Derrick K. Watson

                   Defendants.                           TRIAL: None Set.




      RESPONSE TO [43] DEFENDANTS JPMORGAN CHASE BANK,N.A.,Individually and
        as Servlcer of the JPMORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2;
       JPMORGAN CHASE & CO.; J.P. MORGAN ACCEPTANCE CORPORATION I; J.P.
      MORGAN MORTGAGE ACQUISITION CORP.; J.P. MORGAN SECURITIES LLC; and
        U.S. BANKNATIONAL ASSOCIATION,as Trustee for J.P. MORGAN MORTGAGE
             ACQUISITION TRUST 2006- WMC2,ASSET BACKED PASS THROUGH
        CERTIFICATES,SERIES 2006-WMC2'S MOTION TO DISMISS FIRST AMENDED
                                COMPLAINT,FILED AUGUST 20,2018


            Plaintiffs Donna Mae Amina and Melvin Keakaku Amina respond to [43] DEFENDANTS

      JPMORGAN CHASE BANK,N.A., Individually and as Servicer ofthe JPMORGAN

      MORTGAGE ACQUISITION TRUST 2006-WMC2; JPMORGAN CHASE & CO.; J.P.




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 MORGAN ACCEPTANCE CORPORATION I; J.P. MORGAN MORTGAGE ACQUISITION

 CORP.; J.P. MORGAN SECURITIES LLC;and U.S. BANK NATIONAL ASSOCIATION,as

 Trastee for J.P. MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2, ASSET

 BACKED PASS THROUGH CERTIFICATES,SERIES 2006-WMC2'S MOTION TO DISMISS

 FIRST AMENDED COMPLAINT,FILED AUGUST 20,2018.

        (Judicial notice)

        The[43-1] MEMORANDUM IN SUPPORT OF MOTION("Memorandum")states on

 page 2:

                 The Defendants hereby request that the Court take judicial notice ofthe
        files, records, and findings in the two prior lawsuits filed by the Plaintiffs relating
        to this property [sic] and the mortgages at issue. Federal Rules ofEvidence Rule
        201 allows a court to take judicial notice of"a fact...

 However,"files, records and findings" are not facts. This request is improperly framed,as

 Defendants do not specify what fact[s] they wish the Court to takejudicial notice of.

        The Memorandum states on page 5-10:

               The mortgages at issue in the First Lawsuit and tiie Second Lawsuit were the
        exact same mortgages. As part ofthe First Lawsuit, the Court made the following
        statements about the mortgages at issue in this case:"As alleged in the SAC,in
        February 2006,Plaintiffs entered into two mortgage loans from WMC,one for
        $880,000, and another for $220,000,to purchase the subject property... it is
        imdisputed that the mortgages at issue in the First Lawsuit and the Second Lawsuit
        are the same.
               ... there is no question that the Plaintiffs are asserting claims arising from
        the same property and mortgages that were at issue in the First Lawsuit and the
        Second Lawsuit. ...

 However,the property in the instant case is different from the property in the First Lawsuit and the

 Second Lawsuit. Compare the legal descriptions in the respective Complaints(Exhibits C & D

 attached to the Defendants' Memorandum,pages 8-9 and 8 respectively;[40] Amended

                                                                                                    2
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 Complaint, pages 21-23).

        The Memorandum states on page 6:

        As part ofthe Second Lawsuit,the Court made the following statements...
        Accordingly, it is undisputed that the mortgages at issue in the First Lawsuit and the
        Second Lawsuit are the same....



 However,it is not necessary to resort to a statement from a previous court order. The [40]

 Amended Complaint states:

        7. The Mortgage recorded as Document No.2006-042511 and the corresponding
        Note will be collectively referred to as "the disputed loan" or "the loan in dispute."

 So the mortgage at issue in this case is Document No.2006-042511. The complaint in the First
 Lawsuit states:


        39. On Mar 06,2006, WMC MORTGAGE Corp. recorded as Doc No 2006-042511
        a"MORTGAGE"(MIN 100136300114610198,Loan No. 11461019),("First
        Mortgage")...

 The Second Lawsuit never identifies a Mortgage.

        In addition, the defendants in the cinrent lawsuit are different.

        The Memorandum states on page 19:

                Notwithstanding that this Court found the claim to be barred by res judicata
        because,"Plaintiffs' first cause of action to quiet title to the Property was raised
        before and adjudicated by the district court in the Second Lawsuit," Plaintiffs again
        raise the same claim without alleging any new facts to support it.

 However,the defendants in the current Quiet Title action are different. See the respective captions.

        Page 20 ofthe Memorandum cites Niutunuivaha v. Wells Fareo Bank. N.A.. which cites M

 re Dowsett Trust. 7 Haw. App.640,646,791 P.2d 398,402(1990)for the proposition that imder

 Hawai'i law,the "concept of privity has moved from the conventional and narrowly defined



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 meaning of mutual or successive relationships to the same rights of property to merely a word used

 to say that the relationship between one who is a party ofrecord and another is close enough to

 include that other within res judicata."

        However,this is circular reasoning, or a circular definition: in order to determine whether a

 party is close enough to be included within res judicata, we look to whether the parties are in

 privity; and the Dowsett court merely tells us that they are in privity ifthey are close enough.

 There are no facts or criteria to guide our inquiry.

        The Memorandum states on pages 20-21:

                This Court has already found that privity exists between the defendants in
        the current lawsuit and the defendants' names in Plaintiffs' prior lawsuits. See Dkt.
        No. 21, pp. 25-26.

 However,Docket Number 21 is a Scheduling Conference Statement.

        In addition, although the total set of parties may be the same,the factual allegations against

 each party are not the same,in other words the parties have switched roles by purporting to assign

 the Note and Mortgage. The Quiet Title claim in the First Lawsuit(against Defendants

 MERSCORP,INC.; MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC.; CHASE

 HOME FINANCE LLC; CHASE HOME FINANCE,INC.; UNKNOWN OWNERS OF THE

 EVIDENCE OF THE DEBT and/or OWNERS OF THE NOTE)stated (see Exhibit C attached to

 the [43-1] Defendants' Memorandum):

        152. WMC and GE made a claim to the Property via a mortgage in the coimty
        records which names WMC as the lender.
        153. MERSCORP and MERS made a claim to the Property via a mortgage in the
        covmty records which names MERS as the mortgagee.
        154. CHASE HOME FINANCE LLC / CHASE HOME FINANCE,INC. made a
        claim to the Property via a statement by LCS in its letter dated March 25,2010 that
        "CHASE"owned the Second Loan.


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 However,the current litigation is not about the Second Loan',therefore the claim previously made
 by Chase Home Finance, LLC does not result in any privity with JPMorgan Chase Bank,N.A.

 successor by merger to Chase Home Finance,LLC;in other words,the instant lawsuit is

 distinguished from the First Lawsuit in the following way: the First Lawsuit alleges that Chase

 Home Finance, LLC had an interest in the Second Loan but not in the First Loan, whereas in the

 instant lawsuit, JPMorgan Chase Bank,N.A. successor by merger to Chase Home Finance, LLC is

 alleged to have an interest in the First Loan but not in the Second Loan. In the First Lawsuit,only

 WMC and GE and MERSCORP and MERS made a claim to the First Mortgage.

          The Quiet Title claim in the Second Lawsuit(against THE BANK OF NEW YORK

 MELLON,FKA THE BANK OF NEW YORK and U.S. BANK NATIONAL ASSOCIATION.

 AS TRUSTEE FOR J.P. MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2,ASSET

 BACICED PASS-THROUGH CERTIFICATES,SERIES 2006-WMC2)stated(see Exhibit D

 attached to the [43-1] Defendants' Memorandum):

          50. Defendants have made claims to Plaintiffs' property, as detailed in paragraphs 2
          throu^ 6 and 31 through 33 above.

 Specifically(see Id.):

          2.       The Bank of New York Mellon claimed an interest in the property,
          exceeding $75,000 in value, by causing an agent (Larry Thode of Chase Home
          Lending) to mail to Plaintiffs a letter dated March 2, 2011 stating: "Re: Accoimt
          Number: »****7306 ... Your loan was sold into a public security managed by The
          Bank of New York and may include a number of investors. ... Tlie address of your
          investor is: 101 Barclay Street Fir 4W, New York, NY 10286, JPMAC 2006-
          WMC2, Pei Yan Huang." A true copy of that letter is attached to the 1381 First
          Amended Complaint as Exhibit B.



"See [32] Order on Motion to Dismiss from Case No. 18-00143 DKW-KSC:'The district court explained the
 Mortgage transactions at issue in the litigation: ...(The mortgage loan for $220,000 has been released, leaving the one
 for $880,000 at issue.)"
                                                                                                                       5
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        3.     101 Barclay Street Floor 4W,New York is the address of The Bank of New
        York. The letter identifies "your investor" as "JPMAC 2006-WMC"(J.P Morgan
        Mortgage Acquisition Corp. 2006-WMC2)(hereafter "JPM").
        4.    (*) In April of 2006, JPMorgan Chase Bank, N.A. swapped its corporate
        trust unit for The Bank of New York Co.'s retail and small business banking
        network. The "Your Loan" referred to by Mr. Thode, if it existed, was part of the
        assets being swapped fi-om JP Morgan to The Bank of New York.
        4-1. As stated in the webpage http://www.secinfo.com/dlz2hd.u46.htm:
        (b)On October 1,2006, The Bank ofNew York acquired portions of
                JPMorgan Chase Bank, National Association's corporate trust
                business. Through this acquisition The Bank ofNew York became the
                successor in interest to JPMorgan Chase Bank,National Association
                as Securities Administrator for the Issuing Entity and J.P. Morgan
                Trust Company,National Association as Custodian for the Issuing
               Entity.

        4-2. This transfer ofinterest was required to be reflected in the Hawaii's property
        records by recordation of Assignment ofDeed of Trust.
        4-3. No such transfer of interest was reflected in the Hawaii's property records
        by recordation of Assignment ofDeed of Trust.
        4-4. (*)The relevant loan pool might be under the #637 MLMI2006-WMC2 the
        Merrill Lynch Mortgage Investors Trust, Series 2006-RMl Pooling & Servicing
        Agreement dated as of March 1, 2006 between Merrill Lynch Mortgage Investors,
        Inc., Depositor, Wilshire Credit Corporation, Servicer, and Lasalle Bank National
        Association, Trustee for the Merrill Lynch Mortgage Investors Trust, Series 2006-
        WMC2.
        4-5.   (*)The relevant loan pool might be J.P Morgan Mortgage Acquisition Corp.
        2006-WMC2.
        4-6. The Bank of New York Mellon also made a claim, exceeding $75,000 in
        value, by causing its agent JPM to mail a letter from its agent Chase Home Finance
        LLC, dated February 3, 2010 titled: "Acceleration Warning (Notice of Intent to
        Foreclose)."
        5.      By mailing those two letters through its agents. Defendant improperly seeks
        to foreclose on the subject property.
        6.      Thus, BONYM claims ownership of a Note encumbering the Homestead.
        This claim is improper because Defendant is not owner or holder of any such Note,
        see paragraphs 7,35, 38.

 And:


        31.     On March 2, 2011, Larry Thode of Chase Home Lending mailed a letter to
        Plaintiffs stating: "Re: Accoimt Number: »»*»*7306 ... Your loan was sold into a
        public security managed by The Bank of New York and may include a number of
        investors. ... The address of yom investor is: 101 Barclay Street Fir 4W,New York,

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        NY 10286, JPMAC 2006-WMC2,Pei Van Huang." A true copy of that letter is in
        the record as an attachment to Declaration [29].
        32. (*) In mailing that letter, Larry Thode and Chase Home Lending acted as
        agent of BONYM.therefore BONYM is really the one claiming that "[yjour loan"
        "was sold into" the J.P. Morgan Mortgage Acquisition Corp. Trust 2006-WMC2.
        Therefore, BONYM made a claim by sending the letter through its agent.
        32-1. By mailing that letter through its agent. Defendant improperly seeks to
        foreclose on the subject property.
        32-2. Plaintiffs received a letter dated Febmary 3, 2010 titled; "Acceleration
        Warning (Notice of Intent to Foreclose)," from JPM's agent Chase Home Finance
        LLC. That letter stated: "4. If you fail to cure the default within thirty-two(32)days
        from the date of this notice. Chase Home Finance LLC will ... commence
        foreclosure proceedings, all without further notice to you." A true copy ofthat letter
        is attached to the 1381 First Amended Complaint as Exhibit A.
        32-3. (*) In mailing that letter, Chase Home Finance LLC acted as agent of
        BONYM.therefore BONYM is really the one giving notice of intent to foreclose.
        Therefore, BONYM made a claim by sending the letter through its agent.
        33.      By mailing, through its agent, the "Acceleration Warning (Notice of Intent
        to Foreclose)," Defendant improperly seeks to foreclose on the subject property.

 Thus,in the Second Lawsuit,only The Bank of New York Mellon and "The Bank of New

 York Co.'s retail and small business banking network" made a claim to the First Mortgage.

 The only role played by Chase Home Finance LLC was to act as agent ofBONYM to mail a letter.

        The Quiet Title claim in the instant lawsuit states (see Exhibit D attached to the [43-1]

 Defendants' Memorandum):

        209. The paragraphs above under "Factual Allegations" through and including
        "Damages" are hereby incorporated as iffully set forth.
        214. There are persons unknown,claiming by,through, or under"CHASE."
        215. There are persons unknown,claiming by,through, or under one or more ofthe
        Defendants.


 Specifically:

        9.[foomote] The current claimants are"CHASE" as servicer; US Bank as
        trustee; JPMorgan as nominal beneficiary; the Certificateholders as real
        parties in interest; some other Chase entity. However,BONYM is no longer a
        claimant
        180. Plaintiffs never applied for the loan described in the Note which was filed as
        Document

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         No. 142-1 and as Document 144-4 in Case No. 1:1 l-cv-00714-JMS-BMK.
         181. That Note describes a balloon payment.
         182. Instead, Plaintiffs applied for a fUlly amortizing 30-year fixed-rate loan.
         185. Plaintiff did not receive a loan before February 24,2006(the date on
         Document No. 142-1 and as Document 144-4 in Case No. 1:1 l-cv-OOTH-JMS-
         BMK and also the date on recorded Docmnent No.2006-042511 "Mortgage").
         186. The records ofthe purported 'receiving' account will show that no funds came
         in before the date and time ofthe purported signature on the Note (February 24,
         188. Subsequent to the filing date ofthe operative Complaint in the Second
         Lawsuit,the loan in dispute was sold to either Mortgage Resolution Servicing,
         LLC,S&A Capital Partners, Inc., or 1st Fidelity Loan Servicing, LLC.
         189. Plaintiff has begun negotiations with Larry Schneider[a principal of Mortgage
         Resolution Servicing, LLC,S&A Capital Partners, Inc., and 1st Fidelity Loan
         Servicing, LLC,see 159]to work out a mutually agreeable agreement.
         190. Subsequent to the filing date ofthe operative Complaint in the Second
         Lawsuit,the loan in dispute has been paid by PMI insurance.
         191. Subsequent to the filing date of Ae operative Complaint in the Second
         Lawsuit,the loan in dispute has been "repurchased" according to the terms ofthe
         PSA.
         192. The loan in dispute in this case is not currently owned by any Chase entity.
         193. The disputed loan currently is not in the Mortgage Loan Schedule ofJP
         MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2.

 In the instant lawsuit,only"CHASE" as servicer; US Bank as trustee; JPMorgan as nominal

 beneficiary; the Certificateholders as real parties in interest; and some other Chase entity

 made a claim to the First Mortgage. The Certificateholders are not in privity with any ofthe past

 litigants.

         In addition, the claims ofthe instant case could not have been brought earlier. The Second

 Lawsuit was filed on November 28,2011, and the Second Amended Complaint against U.S. Bank

 on October 19,2012. On April 4,2012(after litigation began in Case No. 11-00714-JMS-BMK),

 an Assignment was filed, as A-44770919, from MERS(as nominee for WMC,ISAOA)to U.S.

 Bank(as trustee). The Aminas argued that they could not have brought their claims November 28,

 2011 based upon the April 4,2012 Assignment,taking the position that"The state offacts



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 considered in a lawsuit is the state offacts that existed as ofthe date ofthe filing ofthe initial

 complaint."In [32] Order on page 20,the Court attempted to rebut this by citing Howard v. City of

 Coos Bay,871 F.3d 1032,1040(9th Cir. 2017)(emphasis added)(agreeing "that a bright-line rule

 which asks only whether a claim could have been brought at the time the operative complaint in

 the prior suit was filed is appropriate")for the proposition that"claim preclusion does not apply to

 claims that accrue after the filing ofthe operative complaint." However,that 2017 case did not

 determine the law in 2011-2012.

        At any rate, the Assignment does not control who has the right to foreclose; the Note

 does. Only a person entitled to enforce the Note may foreclose. The First and Second Lawsuits

 never alleged (nor had reason to allege)that the "current claimants"(named in footnote 2 on page

 3 as:"CHASE" as servicer; US Bank as trustee; JPMorgan as nominal beneficiary; the

 Certificateholders as real parties in interest; some other Chase entity) are persons entitled to

 enforce the Note, The Second Amended Complaint states:

        167. None ofthe Defendants is a person entitled to enforce any promissory note
        encumbering the Homestead.
        168. None ofthe Defendants is the agent ofa person entitled to enforce any
        promissory note encumbering the Homestead.


        The Memorandum states on page 31:

        Thus,Plaintiffs do not and cannot dispute that the loan at issue in this case was, at
        the latest, in place or consummated by March 6,2006.

 However,the loan is "consummated" when ftinds are transferred; this has not yet happened, as

 alleged in the SAC:

        127. Ifthere was any money lent or paid on Plaintiffs' behalf, then money from a
        non-disclosed third party(the investors) was sent through conduits to hide the
        origination ofthe funds for such loan.
                                                                                                      9
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       128. All Defendants possess an Assignment and Assumption Agreement.
       129. Ifthere was any money lent or paid on Plaintiffs' behalf, then the closing agent
       used that money not for the originator ofthe funds(the investors) but for a sham
       nominee entity with no rights to such loan — all as specified in the Assignment and
       Assumption Agreement.
       130. The reason the foreclosing parties do not allege they are holders in due course,
       is that they must prove purchase and delivery for value, as set forth in the PSA
       within the 90 day period during which the JPMAC Trust coiild operate.
       131. No loan encumbering Plaintiffs' property made it into the PSA Trust.
       140. All Defendants keep accounting entries for each oftheir loans in a "general
       ledger," showing all changes to Assets, Liabilities and Owner's Equity resulting
       from the loans.
       141. These accounting ledger entries can be produced in a form similar to that
       described in accounting textbooks such as Intermediate Accounting by Donald E.
       Kieso, Jerry J. Weygandt,and Terry D. Warfield(Wiley, 2003), and Financial
       Accoimting by Paul D. Kimmel,Jerry J.
       Weygandt, and Donald E. Kieso(Wiley, 2006).
       142. These accoimting ledger entries will show that Plaintiffs did not receive the
       loan that Defendants claim they did.
       143. These accounting ledger entries will show that Plaintiffs did not receive any
       loan fi-om WMC MORTGAGE CORP.
       144. These accounting ledger entries will show that Plaintiffs did not receive any
       loan secured by the Property.


       In regard to the Statute of Limitations(MRS 480),the first that Plaintiffs learned about the

Assignment was docket[142-4] in Case No. 1:1 l-cv-00714-JMS-BMK on 10/20/2014, therefore

the Complaint in the instant case was filed within 4 years. The Second Amended Complaint states:

       5. Defendants fi:uudulently concealed information, including but not limited to the
       identity ofthe owner ofthe Note,causing Plaintiffs to be unaware oftheir causes of
       action within the applicable statutes oflimitations, until June 17,2014.
       6. Defendants fiaudulently concealed the identity of person(s) who is/are liable for
       the within claims fi"om the knowledge ofPlaintiffs until June 17,2014.
       9. Plaintiffs made payments to CHASE that were not credited to Plaintiffs' accoimt
       and were not forwarded to the proper party.


Paragraph 9, quoted above,refers to payments that were made after the filing ofthe operative

Complaint in the Second Lawsuit.

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A COURT MAY NOT TAKE JUDICIAL NOTICE OF THE TRUTH(OR FALSITY)OF

PUBLICRECORDS

       The Memorandum requests that Court take judicial notice ofcertain public records.

However:


       For a fact to bejudicially noticed,"indisputability is a prerequisite." Hennessv v. Penril

natacomm Networks^ 69 F.3d 1344,1354(7th Cir. 1995). The power to judicially notice facts "is

to be exercised by courts with caution      Every reasonable doubt upon the subject should be

resolved promptly in the negative." Brown v. Piper. 91 U.S. 37,42-43(1875).

       The Memorandum states: "Federal Rules ofEvidence Rule 201 allows a comt to take

judicial notice of"a feet..." However,the Memorandum never requests the Comi to take judicial

notice ofany facts.

       Similarly, the Memorandum states: "[i]n the context of a motion to dismiss, a court may

take judicial notice under Fed. R. Evid. 201 of'matters of public record'..."

       The factual "matters" appropriate forjudicial notice would be the existence ofthe public

records in question, and the language used, but not the truth(or falsity) oftheir contents.

       'Taking judicial notice ofa document is not the same as accepting the truth ofits contents

or accepting a particular interpretation ofits meaning." Joslin v. HA.S. Ins. Brokerage. 184 Cal.

App. 3d 369,374(1986)."[T]he taking ofjudicial notice ofthe official acts of a governmental

entity does not in and ofitselfrequire acceptance ofthe truth offactual matters which might be

deduced there firom, since in many instances what is being noticed, and thereby established, is no

more than the existence ofsuch acts and not, without supporting evidence, what might factually be

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associated with or flow there from."(citations omitted). Maneini v. R. J Reynolds Tobacco Co..7

Cal. 4111 1057,1062(1994)(emphasis added). While coiirts can take judicial notice of public

records, they do not take notice ofthe truth of matters stated therein. Love v. Wolf.226 Cal. App.

2d 3 78,403(1964). In addition,"when judicial notice is taken of a document... the truthfulness

and proper interpretation ofthe dociiment are disputable." StorMedia. Inc. v. Superior Court. 20

Cal. 4111 449,457,fii. 9(1999). A California coiirt considered the scope ofjudicial review of a

recorded document in Poseidon Development. Inc. v. Woodland Lane Estates. LLC. 152

Cal.App.4th 1106(2007):

       [T]he fact a court may take judicial notice of a recorded deed, or similar document,
       does not mean it may take judicial notice of factual matters stated therein. For
       example, the First Substitution recites that Shanley 'is the present holder of
       beneficial interest under said Deed of Trust.' By taking judicial notice of the First
       Substitution, the court does not take judicial notice ofthis fact, because it is hearsay
       and it cannot be considered not reasonably subject to dispute."(Id. at p. 1117.)


See also Lee v. Citv ofLos Angeles. 250 F.3d 668,689-90(9th Cir. 2001)(holding that district

court improperly took judicial notice of disputed facts recited within public record documents).

This case was cited by the Memorandum (page 5)to support taking judicial notice of the

facts recited within public record documents.

       "Courts may take judicial notice ofpublications introduced to 'indicate what was in the

public realm at the time, not whether the contents ofthose articles were in fact true.'" Premier

Growth Fund v. Alliance Capital Mant.435 F.3d 396,401 n.15(3d Cir. 2001); accord Heliotrope

Gen. Inc. v. Ford Motor Co.. 189 F.3d 971,981 n.118(9th Cir. 1999)(taking judicial notice "that

the market was aware ofthe information contained in news articles submitted by the defendants.").

       "These publications meet the standards for admissibility set forth in Federal Rule of

Evidence 201(b). Accordingly, we take judicial notice ofthem solely as an indication of what
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information was in the public realm at the time." Von Saber v. Norton Simon Museum of Art at
Pasadena. 578 F.3d 1016,1022(9th Cir. August 19,2009). Further,"the Museum fails to point to

any authority which holds that a motion to dismiss based on a statute oflimitations may be granted
on the basis offacts judicially noticed, rather than facts apparent on the face ofthe complaint....
Unless it is clear that the complaint could not be saved by amendment,dismissal with prejudice
and without leave to amend is not appropriate. Accordingly, Saber's complaint should not have

been dismissed without leave to amend." Id. at 1031.

       In United States v. 14.02 Acres of Land,the District Court took judicial notice ofthe

Department ofEnergy National Transmission Grid Study(May 2002), and

       "it referred to the report only as background material, without relying on it to
       resolve any factual dispute. We therefore conclude that the district court did not
       abuse its discretion in taking judicial notice ofthe DOE Study for the limited
       purpose for which the court considered it."

       The case of Disabled Rights Action Comm.v. Las Vegas Events. Inc.. 375 F.3d 861,866 n.

1 (9th Cir 2004) was[107] dismissed with prejudice after[94] notice of voluntary dismissal by the

plaintiff. On appeal, the key phrase is:

       [Defendant Las Vegas] Events has filed an unopposed motion forjudicial notice of
       an unredacted copy ofthe licensing agreement in effect at the time the district court
       ruled on the joinder motion, as well as ofthe current licensing agreement. We grant
       the motion. These licensing agreements are documents ofthe University System,a
       state entity.

Footnote 1 ofDisabled Rights states:

       The district court record includes only a redacted License Agreement indicating that
       Events contracted with University System for permission to present the Rodeo at
       the Center every year from 1993 through 2000. The License Agreement that is
       currently in effect was not part ofthe district court record. Events has filed an
       unopposed motion for judicial notice ofan unredacted copy ofthe licensing
       agreement in effect at the time the district court mled on the joinder motion, as well
       as ofthe ciurent licensing agreement. We grant the motion. These licensing
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       agreements are documents ofthe University System, a state entity. Under Federal
       Rule ofEvidence 201, we may take judicial notice ofthe records of state agencies
       and other undisputed matters of public record. See Lee v. Citv ofLos Angeles,
       250 F.3d 668,689(9th Cir.2001)(explaining that a court mayjudicially notice
       matters of public record unless the matter is a fact subject to reasonable dispute);
       Kottle V. N.W.Kidnev Ctrs.. 146 F.3d 1056,1064 n. 7(9th Cir.1998)(holding that
       state health department records were properlyjudicially noticed); Mack v. S. Bav
       Beer Distribs.. Inc.. 798 F.2d 1279,1282(9th Cir. 1986)(stating that a court may
       take judicial notice ofrecords and reports of state administrative bodies), overruled
       on other groimds by Astoria Fed. Sav.& Loan Ass'n v. Solimino. 501 U.S. 104,
       111 S.Ct. 2166,115 L.Ed.2d96(1991).

Disabled Rights relies on Lee v. Citv of Los Angeles, which reversed judicial notice:

       More importantly, the district court's decision to dismiss plaintiffe' federal claims
       was rooted in defendants' factual assertions. In granting defendants' motions,the
       [district] court assumed the existence offacts that favor defendants based on
       evidence outside plaintiffs' pleadings, took judicial notice of the truth of
       disputed factual matters, and did not construe plaintiffs' allegations in the light
       most favorable to plaintiffs. We therefore also reverse the district court's
       dismissal of plaintiffs' § 1983 claims ...
At any rate, the proposition (that"a court mayjudicially notice matters of public record" such as

deed oftrust, substitution oftrustee, election to sell and other recorded documents)is ambiguous

as it is not clear whether the Disabled Rights coiirt took judicial notice ofthe "matters of public

record"(i.e. the existence ofthe documents)or ofthe truth oftheir contents.

       To the extent that the contents ofDefendants' documents are not alleged in the Complaint,

the Branch rule does not apply to those documents. See Branch v. Tunnell. 14 F.3d 449,453(9th

Cir. 1994):

       ... documents whose contents are alleged in a complaint and whose authenticity
       no party questions, but which are not physically attached to the pleading, may be
       considered in ruling on a Rule 12(b)(6)...

To "consider" means to examine a document (e.g. to determine whether it is defamatory), not to

assume its contents true. Knievel v. ESPN.393 F.3d 1068(9th Cir. 2005).


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       Here, the contents ofthe documents at issue are not alleged in the Complaint, therefore the

rule ofBranch does not apply to those documents.

       The Court may take judicial notice of the dates, parties, and legally operative language of

these documents, but not the truth of various factual representations made in the documents.

Permito v. Wells Fareo Bank.2012 WL 1380322,*2(N.D. Cal. Apr. 20,2012).

       The Ninth Circuit, in the 14.02 Acres case, stated:

       [10] The district court also did not abuse its discretion in taking judicial notice of
       the Department of Energy National Transmission Grid Study (May 2002)("DOE
       Study"), which was not included in the pleadings, and referring to it as background
       material in its order granting the government's motion for judgment on the
       pleadings. ... Judicial notice is appropriate for records and "reports ofadministrative
       bodies." Interstate Natural Gas Co. v. S. Cal. Gas Co.. 209 F.2d 380, 385 (9th Cir.
       1954). The district court considered the DOE Study, which is clearly a "report[]of
       [an] administrative bod[y]." Id. Further, it referred to the report only as
       background material, without relying on it to resolve any factual dispute. We
       therefore conclude that the district court did not abuse its discretion in taking
       judicial notice of the DOE Study for the limited purpose for which the court
       considered it.


The Ninth Circuit explicitly stated that its approval of the district court's judicial notice of tihe

public record was because it "referred to the report only as background material, without relying

on it to resolve any factual dispute." Here, by contrast. Defendants wish to use die disputed records

to resolve a factual dispute.

       The extent ofthe discussion ofthis issue in Valasquez is:

       Pursuant to Federal Rule of Evidence 201, the court takes judicial notice of these
       documents as they are matters of public record. See W. Fed. Sav. v. Heflin. 797
       F.Supp. 790, 792(N.D. Cal.1992)(taking judicial notice of documents in a county
       public record, including deeds of tmst); see also Mack. 798 F.2d at 1282 (on a
       motion to dismiss, a court may properly look beyond the complaint to matters of
       public record).




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       The case relied on. Mack v. South Bav Beer Distributors. Inc.. 798 F.2d 1279, 1282 (9th
Cir. 1986)was only about "state administrative records" and states:
       South Bay requested the district court to take judicial notice of the state
       administrative records attached to the motion to dismiss as exhibits. ... a court may
       take judicial notice of facts outside the pleadings. Sears. Roebuck & Co. v.
       Metropolitan Engravers. Ltd.. 245 F.2d 67, 70 (9th Cir.1956); 5 C. Wright & A.
       Miller, Federal Practice & Procedure, Sec. 1363 at 659-60 (1969).[footnote: Mack,
       himself, relied on this precedent in requesting the district court to take judicial
       notice of the same administrative records in opposing the motion to dismiss his
       pendent state law claim.] Moreover, a court may take judicial notice of"records and
       reports of administrative bodies." Interstate Natural Gas Co. v. Southern California
       Gas Co.. 209 F.2d 380, 385(9th Cir.1953).

       Heflin relies on Grant v. Aurora Loan Servs.. Inc.. No. CV 09-08174, 20 2010 WL

3517399, at *3 (C.D. Cal. Sept. 10, 2010)(citing numeroiis cases where the court took judicial
notice of assignments of deeds of trust, notices of default, and notices of trustee's sale). Grant (in
which there was no dispute about the trustee's deed, and the other documents noticed were
certificates of incorporation, certificates of good standing, and lists of corporate officers) relies on
14.02 Acres, and states:

       Amora requests that the court take judicial notice of the following documents: the
       trustee's deed on sale for the Woodland Hills property, the Federal Stock Charter
       for Lehman Brothers Bank FSB, the Office of Thrift Supervision's Order
       Approving Aurora Loan Services as an Operating Subsidiary of Lehman Brothers
       Ba^,the Secretary's Certificate attesting tiiat Lehman Brothers Bank FSB changed
       its name to Aurora Bank FSB, a certification by the Delaware Secretary of the State
       authenticating the certificate of incorporation for Aurora Loan Services Inc., filed
       May 15, 1997, Aurora's certificate ofconversion from a corporation to an LLC,and
       a certificate of amendment changing Aurora's Certificate of Formation to reflect its
       designation as a limited liability company.

       The FGrantl court likewise takes judicial notice ofthe documents defendants proffer
       regarding Aurora's incorporation and conversion to an LLC - the Federal Stock
       Charter for Lehman Brothers Bank FSB, the Office of Thrift Supervision's Order
       Approving Aurora Loan Service as an Operating Subsidiary of Lehman Brothers
       Ba^,the Secretary's Certificate attesting that Lehman Brothers Bank FSB changed
       its name to Aurora Bank FSB, the certification by Delaware Secretary of State
       authenticating the certificate of incorporation for Aurora Loan Services Inc. filed
       May 15,1997, Aurora's certificate of conversion from a corporation to an LLC,and
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      the certificate of amendment recording the change of Aurora's corporate form and
      designation in its Certificate of Formation. See FED. R. EVDD. 201(b)(stating that
      "[a]judicially noticed fact must be one not subject to reasonable dispute in that it is
      . . . capable of accurate and ready determination by resort to sources whose
      accuracy cannot reasonably be questioned"); see also McCall v. Scott. 239 F.3d
      808,814 n. 3(6th Cir. 2001)("[W]e take judicial notice of the Restated Certificate
      of Incorporation"); McMichael v. U.S. Filter Corp.. No. ED CA 99-182VAP, 2001
      WL 418981, *8(C.D. Cal. Feb. 23, 2001)(taking judicial notice of a certificate of
      incorporation filed in Delaware); Redding v. Freeman Products. Inc.. No. 94 C 398,
      1995 WL 410922, *2(N.D. HI. July 10, 1995)(taking judicial notice of certificates
      of good standing filed with the Illinois Secretary of State); Access 4 All v. Oak
      Spring. Inc.. No. 504CV75OCGRJ, 2005 WL 1212663, *2 n. 16 (M.D. Fla. May
      20, 2005)(taking judicial notice of the records of the Florida Department of State,
      Division of Corporations, which reflected that one plaintiff was an officer and
      director of the other); In re Teledvne Defense Contracting Derivative Litigation,
      849 F.Supp. 1369, 1383 (C.D. Cal. 1993) (stating that "[pjlaintiffs' claim for
      negligent breach of fiduciary duty against the Directors is barred by the
      Corporation's Certificate of Incorporation (of which this Court may take judicial
      notice)"); see also Banks v. Consumer Home Mortgage. Inc.. No. Ol-CV-8508
      (ILG),2003 WL 21251584,*6 n. 7(E.D.N.Y. Mar. 28,2003)("Plaintiffs submitted
      a public record on file with the Secretary of State for Georgia, where CHM lists
      Michael Ashley as the Chief Financial Officer of CHM.This Court can take judicial
      notice ofthis official filing by CHM").

       Footnote 37 of Grant states:


       As the complaint refers to or necessarily relies on records related to the sale of
       plaintiff's property, and as neither party disputes the authenticity of the records,
       they may also be considered xmder the incorporation by reference doctrine.


DOCUMENTSARE NOTFACTS

       Defendants have requested the Court to take judicial notice, not merely of"facts"(F.R.E.

201), but of documents. See Crawford v. Countrywide Home Loans. Inc.. 647 F.3d 642(7th Cir.

July 21, 2011) (judicial notice declined because the movants "sought judicial notice not of

particular discrete facts, but of a number of whole documents.") Yet Defendants do not explain

what factual propositions are supposed to be supported by these documents.

       The Court may take judicial notice of the existence of documents in the public record, and


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ofthe language ofthose documents. The Court may not, however, at this stage, take judicial notice

ofthe truth or falsity ofthe contents ofthose documents.

         The Federal Rules ofEvidence, Rule 201(b)states;

                  The court may judicially notice a fact that is not subject to reasonable
         dispute because it:
                 (1)is generally known within the trial court's territorial jurisdiction; or
                 (2) can be accurately and readily determined from sources whose accuracy
         cannot reasonably be questioned.

         The existence and language of the documents within the public record can be accurately

and readily determined by consulting the records maintained by their official custodian.

         Long before the effective date ofthe Federal Rules, a controversy raged on whether judicial

notice of adjudicative facts should be confined to substantially indisputable facts or to facts that are

imlikely to be disputed. Even the evidence greats were divided on the issue: Professors Morgan

and McCormick argued that judicial notice shoiild be confined to indisputables^ while Professors
Thayer, Wigmore, and Davis contended that judicial notice should extend to facts that are

somewhat less absolute.^ Both sides muster cogent arguments to support their positions and both

contend that the weight of existing case law supports their views.^ A substantial split also exists
among the states on this issue.^ In providing that "[a] judicially noticed fact must be one not


^ See MCCORMICK'S HANDBOOK I, supra note 9,§ 330,at 71011 (taking issue with the Wigmore-Thayer view of
judicial notice and arguing that "the weight ofreason and the prevailing authority" dictate thatjudicial notice be
confined to indisputable fects); John T. McNaughton,Judicial Notice-Excerpts Relating to the Morgan-Wigmore
Controversy, 14 VAND.L. Rev.779,779(1961)(noting that Morgan's view restricts judicial notice to "patently
indisputable" matters).
^ See Kenneth C. Davis, A System ofJudicial Notice Based on Fairness and Convenience,in PERSPECTIVES OF
LAW 69(Roscoe Pound et al. eds., 1964), at 76-78(propounding the Wigmore-Thayer view and arguing that trial
judges should entertain evidence which contradicts judicially noticed facts); McNaughton,supra note 48, at 805
(concluding that the Wigmore-Thayer view allows courts to judicially notice matters which are "somewhat disputable
but unlikely to be disputed").
  See McNaughton,supra note 48,at 796 n.3.
^ See Carla A. Neely,Note,Judicial Notice: Rule 201 ofthe Federal Rules ofEvidence,28 U.FLA. L. Rev. 723,758
nn.203-04(1976)(citing decisions ofseveral states).
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  subject to reasonable dispute,"® the Federal Rules followed the Morgan-McCormick view
  requiring substantial indisputability. The Advisory Committee's note on the federal rule stated that

  this more stringent standard was based upon "the theory that these considerations call for

  dispensing with traditional methods of proofonly in clear cases."^
           In Knievel v. ESPN.393 F.3d 1068(9th Cir. 2005), the issue was whether a certain

  photograph and caption ofEvel Knievel, which included the word "pimp" and which was posted

  on ESPN's website, was defamatory-not whether the contents ofthe documents incorporated by

  reference were true.^

           Plaintiffs hereby question the authenticity of all of Defendants' profferred documents.

           The court should at most take judicial notice ofthe existence of Defendant's documents

  and ofthe language used, but should not assume the truth ofany oftheir contents.

           The key portion of Lee v. Citv ofLos Angeles. 250 F.3d 668,689(9th Cir.2001)

 (explaining that a court mayjudicially notice matters of public record unless the matter is a fact

  subject to reasonable dispute) is:

           In granting defendants' motions, the court assumed the existence offacts that favor
           defendants based on evidence outside plaintiffs' pleadings, took judicial notice of
           the truth of disputed factual matters, and did not construe plaintiffs' allegations in
           the light most favorable to plaintiffs. We therefore also reverse the district cotirt's
           dismissal of plaintiffs'§ 19S3 claims alleging violations ofthe First, Fourth, and
           Fourteenth Amendments on these independent groimds....

           Here, defendant NYSDCS attached several exhibits to its motion to dismiss,
           including declarations from three NYSDCS employees....



' FED.R. EVID.201(b).
^ FED.R.EVID.201 advisory committee's note, subdiv.(b).
' Knievel is "an odd case for a court to cite for the proposition that it could take judicial notice when(a)the majority
  didn't explicitly take judicial notice; and(b)the dissent had a pretty good argument that the majority could not have
  taken judicial notice."-Asst. Prof. Colin Miller, John Marshall School ofLaw (Chicago)
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       In granting defendants' motions to dismiss,... the court stated "this case apparently
       presents the relatively unique situation of an innocent person who attempted to pass
       himself off as an escaped prisoner." Neither the Original Complaint nor the First
       Amended Complaint contain any allegation that Kerry Sanders ever told anyone
       that he was Robert Sanders, let alone that he wanted to pass himself off as Robert
       Sanders. Thus,for purposes ofthe Rule 12(b)(6) motions to dismiss, there was no
       basis for the district court to make the factual finding that Kerry Sanders "attempted
       to pass himselfoff as [the] escaped prisoner" Robert Sanders.

       ... the district court also erred by taking judicial notice of disputed matters. The
       court took judicial notice oftwo documents:(1)the Waiver ofExtradition form,
       according to which Kerry Sanders purportedly "intelligently, knowingly, and
       voluntarily" waived his right to challenge his extradition and admitted being Robert
       Sanders; and(2)the transcript ofthe extradition hearing at which Kerry Sanders
       stated that he purportedly understood the rights he was giving up by signing the
       waiver.


       ... the district court had authority under Rule 201 to take judicial notice ofthe fact
       ofthe extradition hearing,the fact that a Waiver ofExtradition was signed by Kerry
       Sanders, and the fact that Kerry Sanders purportedly waived his right to challenge
       his extradition to New York as "Robert Sanders."

       But the court did more than take judicial notice of undisputed matters of public
       record. The court took judicial notice of disputed facts stated in public records.
       Indeed,the court relied on the validity of Kerry Sanders's Waiver of Extradition in
       dismissing plaintiffs' § 1983 claims at the pleading stage. As the district court
       stated:"Sanders personally waived his right to contest extradition and informed the
       court and counsel that he was,in fact, the Robert Sanders sought in New York."...

       Here,the district court incorrectly took judicial notice ofthe validity of Kerry
       Sanders's waiver, which was as yet unproved....

       Accordingly, we hold that the district court erred in granting the City's motion to
       dismiss plaintiffs' § 1983 claims imder the First, Fourth, and Fourteenth
       Amendments by relying on extrinsic evidence and by taking judicial notice of
       disputed matters offact to support its ruling.

The disputed facts in Lee were whether Kerry Sanders' waiver was valid. There is no

indication that the Lee plaintiff disputed any ofthose facts. Therefore, Lee contradicts the

principle urged by Defendants: thatjudicial notice supposedly must be taken unless the


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opposing party puts some contrary evidence before the court—^within the time limit for a

response to a motion and without opportunity for discovery, no less.


                                        CONCLUSION


       The Second Amended Complaint states a claim upon which relief can be granted. The

Motion should be denied.


       In the alternative and without waiving the foregoing, leave to amend should be given,

because amendment would NOT be futile as there are facts which Plaintiffs have yet to allege (for

example, when the Note was allegedly sold to a Larry Schneider business, how it was allegedly

fraudulent, and when Chase demanded and accepted money.).


Executed on this 19"^ day of October, 2018.


                                                    Donna Mae .A^ina,Pro Se



                                                    Melvin             Amina,Pro Se




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the following date, I served a copy of the

foregoing on the following parties by fax and/or U.S. first class mail:

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REGISTRATION SYSTEMS,INC.


DATED: October 19, 2018                       O
                                                     Kanani Amina




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